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     Minor AG, through her Guardian Ad Litem
 7
     Laren Turner; Estate of Francisco Garcia;
 8   Merardo Garcia Medina; Maria Luz Ruiz
 9
                          UNITED STATES DISTRICT COURT
10
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12

13   MINOR AG, individually, and as                CASE NO.:
     successor in interest to decedent)
14   FRANCISCO GARCIA, by and         )
     Through her Guardian Ad Litem,   )            COMPLAINT FOR DAMAGES
15   LAREN TURNER; ESTATE OF
     FRANCISCO GARCIA; MERARDO        )
                                                   1. Unreasonable Search and
16   GARCIA MEDINA; MARIA LUZ         )               Seizure—Excessive Force and
     RUIZ,                            )               Denial of Medical Care
17                       Plaintiff                    (42 U.S.C. § 1983);
                                      )
                    v.                )            2. Substantive Due Process
18                                                    (42 U.S.C. § 1983);
                                      )            3. Municipal Liability for
19   COUNTY OF LOS ANGELES,
     LUKE LIU, and DOES 2 through 10, )               Unconstitutional Custom, Practice,
     inclusive,                       )               or Policy (42 U.S.C. § 1983);
20                                                 4. Battery (Wrongful Death)
                                      )            5. Negligence (Wrongful Death)
21                  Defendants        )
22                                    )
     _______________________________ )             DEMAND FOR JURY TRIAL
23

24

25                            COMPLAINT FOR DAMAGES
26   1.    Plaintiffs A.G., a minor child, individually, and as successor in interest to
27   decedent Francisco Garcia, by and through her Guardian Ad Litem, Laren Turner;
28
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 1   Estate of Francisco Garcia; Merardo Garcia Medina and Maria Luz Ruiz;
 2   individually in their Complaint against Defendants COUNTY OF LOS ANGELES
 3   (hereinafter also sometimes referred to as, “COUNTY” or “County” or “COLA”);
 4   Deputy LUKE LIU, DOES 1 THROUGH 10, inclusive (collectively “Defendants”),
 5   allege as follows:
 6                                   INTRODUCTION
 7   2.    This civil rights action seeks compensatory and punitive damages from
 8   individual deputy sheriffs, from senior sheriff’s department officials, and from the
 9   County of Los Angeles for violation of fundamental rights under the United States
10   Constitution and state law in connection with the brutal police shooting and killing
11   of Francisco Garcia on February 24, 2016. Decedent Francisco Garcia was shot
12   dead by Defendant Deputy LUKE LIU on February 24, 2016.
13   3.    DECEDENT Francisco Garcia is but one of many recent victims of a
14   disturbing trend featuring unarmed citizens shot dead by sheriff deputies employed
15   by the County of Los Angeles. Rather than take measures to address the staggering
16   epidemic and wave of such shootings, such as holding the culprits accountable,
17   local authorities have fomented a culture pursuant to which individual deputies and
18   their supervisors look the other way when such shootings take place and when
19   deputies involved fabricate stories that purport to justify the shootings. There have
20   been numerous shootings per year every year by COUNTY OF LOS ANGELES
21   Sheriff Deputies who shoot and kill unarmed persons who have fired no shots,
22   including from 2007 through the date of the shooting of DECEDENT Francisco
23   Garcia. From at least 2007 through the date of the shooting of DECEDENT
24   Francisco Garcia, Defendant COUNTY OF LOS ANGELES has maintained a
25   custom, policy and practice in which its Deputies are permitted to shoot persons
26   who are visibly unarmed and who have fired no shots and in which the COUNTY
27   OF LOS ANGELES Sheriff Deputies are not fired or disciplined for such
28   unjustified shootings, thereby condoning this practice of over and over, time and
                                           2
                          PLAINTIFFS’ COMPLAINT FOR DAMAGES
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 1   again shooting unarmed civilians. This policy of shooting unarmed civilians was a
 2   moving force in the shooting of DECEDENT Francisco Garcia on February 24,
 3   2016.
 4   4.      The policies and customs behind shootings of unarmed civilians such as
 5   Francisco Garcia are fundamentally unconstitutional and constitute a menace of
 6   major proportions to the public. Accordingly, insofar as Plaintiffs herein seek by
 7   means of this civil rights action to hold accountable those responsible for the killing
 8   of Francisco Garcia and to challenge the County’s unconstitutional policies and
 9   practices, this civil rights action is firmly in the public interest.
10

11                                           PARTIES
12   5.      At all relevant times, Francisco Garcia (hereinafter, sometimes referred to
13   herein as “DECEDENT”) was an individual residing in the County of Los Angeles,
14   California.
15   6.      Plaintiff A.G. is a minor individual residing in the COUNTY OF LOS
16   ANGELES and is the natural born child of DECEDENT. Plaintiff A.G. sues by
17   and through her Guardian Ad Litem and natural mother, Laren Turner, both in her
18   individual capacity as the child of DECEDENT and in a representative capacity as a
19   successor-in-interest to DECEDENT and THE ESTATE OF FRANCISCO
20   GARCIA pursuant to California C.C.P. Section 377.32. Plaintiff A.G. is an “heir at
21   law” (C.C.P. Section 373.60, wrongful death) and a “successor-in-interest” (C.C.P.
22   Section 377.30, survival) to DECEDENT Francisco Garcia. Plaintiff A.G. seeks
23   both wrongful death and survival damages under federal and state law. Plaintiff
24   A.G. seeks all damages available under federal and state law including under C.C.P.
25   Section 373.60 (wrongful death); C.C.P. Section 373.30 (survival) and under
26   federal law for wrongful death and survival. The damages sought by Plaintiff A.G.
27   for the death of her Father, Francisco Garcia, include for loss of DECEDENT’s
28   love, companionship, comfort, care, assistance, protection, affection, society, moral
                                            3
                           PLAINTIFFS’ COMPLAINT FOR DAMAGES
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 1   support; loss of financial support and earning capacity; loss of gifts and benefits;
 2   funeral and burial expenses; loss of the reasonable value of household services; loss
 3   of relationship with DECEDENT, including loss of society and companionship and
 4   the mental, physical and emotional pain and suffering of DECEDENT and all other
 5   damages allowed under federal and state law. Plaintiff the ESTATE OF
 6   FRANCISCO GARCIA appears through its successor-in-interest, the Plaintiff
 7   A.G., a minor, through her Guardian Ad Litem and natural mother, Laren Turner,
 8   named herein.
 9   7.    Plaintiff MERARDO GARCIA MEDINA is an individual residing in the
10   COUNTY OF LOS ANGELES and is the father of DECEDENT. MERARDO
11   GARCIA MEDINA sues in his individual capacity as the father of the
12   DECEDENT. MERARDO GARCIA MEDINA seeks wrongful death and survival
13   damages under federal law, including for loss of relationship with DECEDENT,
14   including loss of society and companionship and the mental, physical and
15   emotional pain and suffering of DECEDENT and all other damages allowed under
16   federal law.
17   8.    Plaintiff MARIA LUZ RUIZ is an individual residing in the COUNTY OF
18   LOS ANGELES and is the mother of DECEDENT. MARIA LUZ RUIZ sues in her
19   individual capacity as the mother of the DECEDENT. MARIA LUZ RUIZ also
20   seeks wrongful death and survival damages under federal law, including for loss of
21   relationship with DECEDENT, including loss of society and companionship and
22   the mental, physical and emotional pain and suffering of DECEDENT and all other
23   damages allowed under federal law.
24   9.    Defendant COUNTY OF LOS ANGELES (hereinafter, sometimes referred
25   to as “COUNTY” or “COLA”) is a public entity whose deputies operate under
26   color of law or authority, in their individual and representative capacities and in the
27   course and scope of their employment with the capacity to sue and be sued.
28   Defendant COUNTY is responsible for the actions, omissions, policies, procedures,
                                           4
                          PLAINTIFFS’ COMPLAINT FOR DAMAGES
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 1   practices and customs of its various agents and agencies. At all times relevant to
 2   the facts alleged herein, Defendant COUNTY was responsible for assuring that the
 3   actions, omissions, policies, procedures, practices, and customs of its employees
 4   complied with the laws and the Constitutions of the United States and the State of
 5   California. Defendant COUNTY employs persons including through Departments
 6   that include the LOS ANGELES COUNTY SHERIFF’S DEPARTMENT
 7   (hereinafter, sometimes referred to as “LASD”).
 8   10.   Defendant Deputy LUKE LIU is a COUNTY deputy sheriff working for
 9   COLA and LASD. On February 24, 2016, Defendant Deputy LUKE LIU, in his
10   individual capacity, acting under color of law and in the course and scope of his
11   employment with COLA shot and killed decedent.
12   11.   At all relevant times, defendant Deputy LUKE LIU, and DOES 2
13   THROUGH 10 were employees of the LASD. At all times relevant herein,
14   defendant Deputy LUKE LIU and each of the defendants DOES 2 THROUGH 10
15   was an employee and/or agent of defendant COUNTY and he or him acted under
16   color of law, to wit, under the color of the statutes, ordinances, regulations, policies,
17   customs, and usages of Defendant COUNTY and the LASD, as well as under the
18   color of the statutes and regulations of the State of California.
19   12.   At all relevant times, defendant Deputy LUKE LIU, and each of the
20   Defendant’s DOES 2 THROUGH 10 was acting within his or her capacity as an
21   employee, agent, representative and/or servant of COUNTY.
22   13.   Defendants Deputy LUKE LIU and DOES 1 THROUGH 10 are sued in their
23   individual capacities for damages only.
24   14.   On information and belief, at all relevant times, Defendants COUNTY,
25   Deputy LUKE LIU and DOES 2 THROUGH 10, inclusive, were residents of
26   County of Los Angeles, California. Defendant LUKE LIU is sued herein in his
27   individual and/or representative capacity and/or in his capacity as the employee and
28   agent of Defendant COUNTY.
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                          PLAINTIFFS’ COMPLAINT FOR DAMAGES
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 1   15.    At all relevant times, Deputy LUKE LIU and DOES 2 THROUGH 10,
 2   inclusive, were duly authorized employees and agents of COUNTY, who were
 3   acting under color of law within the course and scope of their individual and/or
 4   representative capacities and respective duties as deputies and law enforcement
 5   agents and with the complete authority and ratification of their principal, Defendant
 6   COUNTY.
 7   16.    At all relevant times, Defendants Deputy LUKE LIU and DOES 2
 8   THROUGH 10, inclusive, were duly appointed officers and/or employees or agents
 9   of COUNTY, subject to oversight and supervision by COUNTY’s elected and non-
10   elected officials.
11   17.    In doing the acts and failing and omitting to act as hereinafter described,
12   defendants Deputy LUKE LIU and DOES 2 THROUGH 10 were acting on the
13   implied and actual permission and consent of COUNTY.
14   18.    The true names of defendants DOES 2 THROUGH 10, inclusive, are
15   unknown to Plaintiffs, who therefore sues these defendants by such fictitious
16   names. Plaintiffs will seek leave to amend this complaint to show the true names
17   and capacities of these defendants when they have been ascertained. Each of the
18   fictitious named defendants is responsible in some manner for the conduct and
19   liabilities alleged herein.
20   19.    Each of the Defendants caused and is responsible for the unlawful conduct
21   and resulting, by, inter alia, personally participating in the conduct, or acting jointly
22   and in concert with others who did so; by authorizing, acquiescing or failing to take
23   action to prevent the unlawful conduct; by promulgating policies and procedures
24   pursuant to which the unlawful conduct occurred; by failing and refusing, with
25   deliberate indifference to Plaintiffs and decedent’s rights, to initiate and maintain
26   adequate supervision and/or training; and, by ratifying the unlawful conduct that
27   occurred by agents and peace officers under their direction and control. Whenever
28   and wherever reference is made in this Complaint to any act by a Defendant, such
                                            6
                           PLAINTIFFS’ COMPLAINT FOR DAMAGES
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 1   allegation and reference shall also be deemed to mean the acts and failures to act of
 2   each Defendant individually, joint, and severally. They are sued in their individual
 3   and official capacities and in some manner are responsible for the acts and
 4   omissions alleged herein. Plaintiffs will ask leave of this Court to amend this
 5   Complaint to allege such name and responsibility when that information is
 6   ascertained. Each of Defendants is the agent of the other and the actions of each of
 7   the Defendants were ratified by the other Defendants.
 8

 9                              JURISDICTION AND VENUE
10   20.     This civil action is brought for the redress of alleged depravations of
11   constitutional rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988, the
12   Fourth and Fourteenth Amendment of the United States Constitution, and the
13   California Constitution. Jurisdiction is founded on 28 U.S.C. §§ 1331, 1343, and
14   1367.
15   21.     Venue is proper in this Court under 28 U.S.C. § 1391(b), because defendants
16   reside in, and in all incidents, events, and occurrences giving rise to this action
17   occurred in, the County of Los Angeles, California. Each Plaintiff herein timely
18   and properly filed tort claims pursuant to Cal. Gov. Code § 910 et seq., and this
19   action is timely filed within all applicable statutes of limitations.
20                  FACTS COMMON TO ALL CLAIMS FOR RELIEF
21   22.     Plaintiff repeats and re-alleges each and every allegation in paragraphs 1
22   through 21 of this Complaint with same force and effect as if fully set forth herein.
23   23.     Decedent was born on December 27, 1989, and he was 26 years old at the
24   time of his death.
25   24.     On the evening of February 24, 2016, DECEDENT was pumping gas at the
26   7/11 store near Studebaker and Alondra in the city of Norwalk, California.
27   DECEDENT got into the car he was driving, sitting in the driver’s seat.
28

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                           PLAINTIFFS’ COMPLAINT FOR DAMAGES
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 1   25.   Defendant Deputy LUKE LIU, in his individual and/or representative
 2   capacity, acting under color of law and in the course and scope of his employment
 3   with COLA entered the gas station in a COLA patrol vehicle and parked behind the
 4   DECEDENT. DECEDENT began to pull away to exit the gas station while seated
 5   in the car he was driving. DECEDENT Francisco Garcia was unarmed.
 6   26.   Without issuing any warning that shots were going to be fired, and in
 7   violation of COLA policy, Defendant Deputy LUKE LIU fired his gun at
 8   DECEDENT (who was an occupant of a vehicle) killing DECEDENT Francisco
 9   Garcia.
10   27.   Decedent sustained injuries, pain, and suffering, and death when he was shot
11   by Defendant Deputy LUKE LIU who was acting under color of law, in his
12   individual and official capacities and as an employee of COLA/LASD. The
13   DECEDENT was unarmed and at the time of the shooting posed no imminent
14   threat of death or serious bodily injury to any person and the force that was used by
15   Defendant Deputy LUKE LIU was unreasonable, excessive deadly force.
16   28.   Upon information and belief, at the time he was shot, DECEDENT was not
17   in possession of a weapon. Moreover, DECEDENT was leaving the scene of the
18   incident. There was no crime in progress. DECEDENT posed no imminent threat
19   of death or serious bodily injury to Defendant Deputy LUKE LIU, or any other
20   sheriff deputy.
21   29.   Defendant Deputy LUKE LIU did not warn decedent that he was about to
22   shoot decedent.
23   30.   Upon information and belief, after being shot, decedent collapsed in his car
24   rendering the car inoperable. Decedent was immobile and bleeding profusely and
25   in obvious critical need of immediate emergency care and treatment. Instead of
26   immediately providing or facilitating emergency care and treatment, decedent’s
27   need for immediate medical care was ignored. Defendant’s Deputy LUKE LIU and
28   DOES 2 THROUGH 10, inclusive did not timely summon medical care or permit
                                          8
                         PLAINTIFFS’ COMPLAINT FOR DAMAGES
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 1   medical personnel to treat decedent. The delay of medical care to decedent caused
 2   decedent extreme physical and emotional pain and suffering, and was a contributing
 3   cause of decedent’s death.
 4   31.   Upon information and belief, Defendants Deputy LUKE LIU and DOES 2
 5   THROUGH 10, inclusive, participated in the attempted cover-up of this shooting.
 6   32.   Prior to and at the time of the shooting, decedent was unarmed and posed no
 7   imminent threat of death or serious physical injury to Defendant Deputy LUKE
 8   LIU or any other person. The use of deadly force was excessive and objectively
 9   unreasonable under the circumstances. Within six months of the Incident, Plaintiffs
10   timely and appropriately presented and filed Government Claims on August 2, 2016
11   with the Defendants in this action. The Government Claims were rejected on
12   September 12, 2016 and the filing of this action, as to the State Claims for Relief,
13   within six months of the rejection, is timely filed. Additionally, the Federal Claims
14   for Relief are also timely filed within two years of the Incident.
15                           FIRST CLAIM FOR RELIEF
16
                             For Unreasonable Search and
       Seizure— Unreasonable and/or Excessive Force and Denial of Medical Care
17                                (42 U.S.C. § 1983);
18        (By Plaintiffs MINOR AG, individually, and as successor in interest to
        DECEDENT FRANCISCO GARCIA, by and Through her Guardian Ad
19     Litem, LAREN TURNER; and THE ESTATE OF FRANCISCO GARCIA,
20    Against Defendant Deputy LUKE LIU and DOES 2 THROUGH 10, inclusive)
     33.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
21
     through 32 of this Complaint with the same force and effect as if fully set forth
22
     herein.
23
     34.   The unjustified shooting of DECEDENT by Deputy LUKE LIU and other
24
     unknown DOE defendants deprived DECEDENT of his right to be secure in his
25
     person against unreasonable searches and seizures as guaranteed to DECEDENT
26
     under the Fourth Amendment to the United States Constitution and applied to state
27
     actors by the Fourteenth Amendment. On February 24, 2016, Defendant LUKE
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                          PLAINTIFFS’ COMPLAINT FOR DAMAGES
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  1   LIU and DOES 2-10, acting in their individual and/or representative capacities, in
  2   the course and scope of their employment with Defendant COUNTY (LASD),
  3   acting under color of law, used unreasonable and excessive deadly force and
  4   violated the Constitutional Rights of DECENDENT Noel Aguilar, when they shot
  5   and killed DECENDENT at the 7/11 store near Studebaker and Alondra in the city
  6   of Norwalk, California. DECEDENT did not represent an imminent threat of death
  7   or serious bodily injury and the deadly force used by Defendant LUKE LIU and
  8   DOES 2-10 was objectively unreasonable force that proximately caused the death
  9   of DECEDENT in violation of 42 U.S.C. Section 1983.
 10   35.   By virtue of their misconduct, defendants Deputy LUKE LIU and DOES 2
 11   THROUGH 10, inclusive are liable for DECEDENT’s injuries, either because these
 12   defendants were integral participants in the use of excessive force, or because they
 13   failed to intervene to prevent these violations.
 14   36.   Defendants Deputy LUKE LIU and DOES 2 THROUGH 10, inclusive knew
 15   that failure to provide timely medical treatment to decedent could result in further
 16   significant injury or the unnecessary and wanton infliction of pain, but nevertheless
 17   disregarded his serious medical needs, causing him great bodily harm, physical and
 18   emotional pain and suffering, and death.
 19   37.   This use of deadly force was excessive and objectively unreasonable under
 20   the circumstances. Defendant’s actions thus deprived DECEDENT of his right to
 21   be free from unreasonable searches and seizures under the Fourth Amendment and
 22   applied to state actors by the Fourteenth Amendment.
 23   38.   As a direct and proximate result of the actions of Defendants, Plaintiff A.G.
 24   suffered the loss of her Father, DECEDENT Francisco Garcia, including damages
 25   for the loss of DECEDENT’s life-long love, companionship, comfort, care,
 26   assistance, protection, affection, society, moral support; loss of financial support,
 27   sustenance and earning capacity; loss of gifts and benefits; funeral and burial
 28   expenses; loss of the reasonable value of household services; loss of relationship
                                           10
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  1   with DECEDENT, including loss of society and companionship and the mental,
  2   physical and emotional pain and suffering of DECEDENT and all other damages
  3   allowed under federal and state law. Plaintiff A.G., by this action, further claims all
  4   of Plaintiffs’ attorneys’ fees and costs incurred and to be incurred in Plaintiffs
  5   presenting, maintaining and prosecuting this action under 42 U.S.C. Section 1988.
  6   39.   The conduct of Defendants Deputy LUKE LIU and DOES 2 THROUGH 10,
  7   inclusive was willful, wanton, malicious, and done with reckless disregard for the
  8   rights and safety of DECEDENT and therefore warrants the imposition of
  9   exemplary and punitive damages as to Defendants Deputy LUKE LIU and DOES 2
 10   THROUGH 10, inclusive.
 11                           SECOND CLAIM FOR RELIEF
 12
                For violation of Substantive Due Process (42 U.S.C. § 1983);
                 (By All Plaintiffs Against Defendant Deputy LUKE LIU
 13                        and DOES 2 THROUGH 10, inclusive)
 14   40.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 15   through 39 of this Complaint with the same force and effect as if fully set forth
 16   herein.
 17   41.   Plaintiff Minor A.G., as the daughter of DECEDENT Francisco Garcia, had a
 18   cognizable interest under the Due Process Clause of the Fourteenth Amendment of
 19   the United States Constitution to be free from state actions that deprive them life,
 20   liberty, or property in such a manner as to be deliberately indifferent to the
 21   constitutional rights of the DECEDENT, including but not limited to unwarranted
 22   state interference in Plaintiff’s familial relationship with her father, DECEDENT
 23   Francisco Garcia.
 24   42.   Plaintiffs MERARDO GARCIA MEDINA and MARIA LUZ RUIZ, as the
 25   parents of DECEDENT Francisco Garcia, had a cognizable interest under the Due
 26   Process Clause of the Fourteenth Amendment of the United States Constitution to
 27   be free from state actions that deprive them life, liberty, or property in such a
 28

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                           PLAINTIFFS’ COMPLAINT FOR DAMAGES
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  1   manner as to be deliberately indifferent to the constitutional rights of the
  2   DECEDENT, including but not limited to unwarranted state interference in
  3   Plaintiff’s familial relationship with their son, DECEDENT Francisco Garcia.
  4   43.   DECEDENT Francisco Garcia had a cognizable interest under the Due
  5   Process Clause of the Fourteenth Amendment of the United States Constitution to
  6   be free from state actions that would deprive him of life, liberty, or property in such
  7   a manner as to be deliberately indifferent to the constitutional rights of the
  8   DECEDENT.
  9   44.   The aforementioned actions of Defendant Deputy LUKE LIU and DOES 2
 10   THROUGH 10, along with other undiscovered conduct, were deliberately
 11   indifferent to the constitutional rights of the DECEDENT and Plaintiffs A.G.,
 12   MERARDO GARCIA MEDINA and MARIA LUZ RUIZ, in that said Defendants
 13   had time to deliberate and then used deadly force that shocks the conscience in
 14   violation of the constitutional rights of DECEDENT and Plaintiffs, and with
 15   purpose to harm unrelated to any legitimate law enforcement objective in violation
 16   of 42 U.S.C. Section 1983.
 17   45.   Defendant Deputy LUKE LIU and DOES 2 THROUGH 10 thus violated the
 18   substantive due process rights of Plaintiffs to be free from unwarranted interference
 19   with their familial relationship with DECEDENT.
 20   46.   As a direct and proximate cause of the acts of Defendant Deputy LUKE LIU
 21   and DOES 2 THROUGH 10, DECEDENT experienced severe pain and suffering
 22   and lost his life and earning capacity. Plaintiffs suffered extreme and severe mental
 23   anguish and plain and have been injured in mind and body. Plaintiffs have also
 24   been deprived of the life-long love, companionship, comfort, support, society, care,
 25   and sustenance of DECEDENT, and will continue to be so deprived for the
 26   remainder of their natural lives. Plaintiffs are also claiming funeral and burial
 27   expenses and loss of financial support.
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  1   47.   Plaintiffs A.G., MERARDO MEDINA GARCIA, and MARIA LUZ RUIZ
  2   bring this claim in each case individually, and in each case, seek death damages for
  3   the violation of their constitutional rights to a familial relationship with
  4   DECEDENT. Plaintiffs A.G, MERARDO MEDINA GARCIA, and MARIA LUZ
  5   RUIZ by this action further claim all of Plaintiffs’ attorneys’ fees and costs incurred
  6   and to be incurred in Plaintiffs presenting, maintaining and prosecuting this action
  7   under 42 U.S.C. Section 1988.
  8   48.   The conduct of Deputy LUKE LIU and DOES 2 THROUGH 10 was willful,
  9   wanton, malicious, and done with reckless disregard for the rights and safety of
 10   DECEDENT and Plaintiffs and therefore warrants the imposition of exemplary and
 11   punitive damages as to Defendants Deputy LUKE LIU and DOES 2 THROUGH
 12   10.
 13                            THIRD CLAIM FOR RELIEF
 14
        For Municipal Liability for Unconstitutional Custom or Policy (42 U.S.C. §
                                         1983);
 15         (By All Plaintiffs Against COUNTY and DOES 2 THROUGH 10)
 16   49.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
 17   through 48 of this Complaint with the same force and effect as if fully set forth
 18   herein.
 19   50.   On information and belief, Defendants Deputy LUKE LIU and DOES 2
 20   THROUGH 5 unjustified shooting of DECEDENT was found to be within
 21   COLA/LASD policy.
 22   51.   On information and belief, Defendants Deputy LUKE LIU and DOES 2
 23   THROUGH 5 unjustified shooting of DECEDENT was ratified by COLA/LASD
 24   supervisorial officers.
 25   52.   On information and belief, Defendants Deputy LUKE LIU and DOES 2
 26   THROUGH 5 were not disciplined for the unjustified shooting of DECEDENT.
 27

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                           PLAINTIFFS’ COMPLAINT FOR DAMAGES
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  1   53.   On and for some time prior to February 24, 2016 (and continuing to the
  2   present date), Defendants COUNTY and DOES 6-10, acting with gross negligence
  3   and with reckless and deliberate indifference to the rights and liberties of the public
  4   in general, and of Plaintiffs and DECEDENT, and of persons in their class,
  5   situation and comparable position in particular, knowingly maintained, enforced
  6   and applied an official recognized custom, policy, and practice of:
  7         (a) Employing and retaining as police officers and other personnel, including
  8         DOE OFFICERS, whom Defendants COUNTY and DOES 6-10 at all times
  9         material herein knew or reasonably should have known had dangerous
 10         propensities for abusing their authority and for mistreating citizens by failing
 11         to follow written LASD policies, including the use of excessive force;
 12         (b) Of inadequately supervising, training, controlling, assigning, and
 13         disciplining COUNTY Police OFFICERS and other personnel, including
 14         Defendants Deputy LUKE LIU and DOES 2 through 10, whom Defendants
 15         COUNTY and DOES 6-10 knew or in the exercise of reasonable care should
 16         have known had the aforementioned propensities and character traits,
 17         including the propensity for violence and the use of excessive force;
 18         (c) By maintaining grossly inadequate procedures for reporting, supervising,
 19         investigating, reviewing, disciplining and controlling the intentional
 20         misconduct by Defendants Deputy LUKE LIU and DOES 2 THROUGH 5,
 21         who are DEPUTIES and/or agents of COUNTY;
 22         (d) By failing to discipline COUNTY DEPUTIES' and/or agents' conduct,
 23         including but not limited to, unlawful detention and excessive force;
 24         (e) By ratifying the intentional misconduct of Deputy LUKE LIU and DOES
 25         2 THROUGH 5, and other COUNTY DEPUTIES and/ or agents, who are
 26         COUNTY DEPUTIES and/or agents of COUNTY;
 27         (f) By having and maintaining an unconstitutional policy, custom, and
 28         practice of detaining and arresting individuals without probable cause or
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  1         reasonable suspicion, and using excessive force, including deadly force,
  2         which also is demonstrated by inadequate training regarding these subjects.
  3         The policies, customs, and practices of Defendants COUNTY and DOES 6-
  4         10 were maintained with a deliberate indifference to individuals' safety and
  5         rights; and
  6         (g) By failing to properly investigate claims of unlawful detention and
  7         excessive force by COUNTY DEPUTIES.
  8   54.   By reason of the aforementioned policies and practices of Defendants
  9   COUNTY and DOES 6-10, DECEDENT was severely injured and subjected to
 10   pain and suffering and lost his life. The aforementioned policies and practices of
 11   Defendants, including the custom, policy and practice of Defendant COUNTY in
 12   allowing its Deputies to use unjustified, excessive and unreasonable deadly force in
 13   shooting unarmed persons who had fired no shots with no punishment for the
 14   involved Deputies was a moving force that caused Defendants LUKE LIU and
 15   DOES 2 through 10 to use unreasonable deadly force on DECEDENT (who was
 16   also unarmed and fired no shots).
 17   55.   Defendants COUNTY and DOES 6-10, together with various other officials,
 18   whether named or unnamed, had either actual or constructive knowledge of the
 19   deficient policies, practices and customs alleged in the paragraphs above. Despite
 20   having knowledge as stated above, these defendants condoned, tolerated and
 21   through actions and inactions thereby ratified such policies. Said defendants also
 22   acted with deliberate indifference to the foreseeable effects and consequences of
 23   these policies with respect to the constitutional rights of DECEDENT, Plaintiffs,
 24   and other individuals similarly situated.
 25   56.   By perpetrating, sanctioning, tolerating and ratifying the outrageous conduct
 26   and other wrongful acts, Defendants DOES 6-10 acted with intentional, reckless,
 27   and callous disregard for the life of DECEDENT and for DECEDENT's and
 28

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  1   Plaintiffs' constitutional rights. Furthermore, the policies, practices, and customs
  2   implemented, maintained, and still tolerated by Defendants COUNTY and DOES
  3    6-10 were affirmatively linked to and were a significantly influential force behind
  4   the injuries of DECEDENT and Plaintiffs.
  5   57.   The actions of each of Defendants DOES 6-10 were willful, wanton,
  6   oppressive, malicious, fraudulent, and extremely offensive and unconscionable to
  7   any person of normal sensibilities, and therefore warrants the imposition of
  8   exemplary and punitive damages as to Defendants DOES 6-10.
  9   58.   By reason of the aforementioned acts and omissions of Defendants
 10   COUNTY and DOES 6-10, Plaintiffs were caused to incur funeral and related
 11   burial expenses, and loss of financial support.
 12   59.   By reason of the aforementioned acts and omissions of Defendants
 13   COUNTY and DOES 6-10, Plaintiffs have suffered loss of love, companionship,
 14   affection, comfort, care, society, and future support.
 15   60.   Accordingly, Defendants COUNTY and DOES 6-10 each are liable to
 16   Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
 17   61.   Plaintiffs seek both wrongful death damages and survival damages under this
 18   claim. Plaintiffs A.G, MERARDO MEDINA GARCIA, and MARIA LUZ RUIZ
 19   by this action further claim all of Plaintiffs’ attorneys’ fees and costs incurred and
 20   to be incurred in Plaintiffs presenting, maintaining and prosecuting this action
 21   under 42 U.S.C. Section 1988.
 22   ///
 23   ///
 24   ///
 25   ///
 26   ///
 27   ///
 28   ///
                                           16
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  1                       FOURTH CLAIM FOR RELIEF
  2
           For Battery (Cal. Govt. Code §820 and California Common Law);
      (Wrongful Death) (By Plaintiffs MINOR AG, individually, and as successor in
  3      interest to DECEDENT FRANCISCO GARCIA, by and Through her
  4   Guardian Ad Litem, LAREN TURNER; and THE ESTATE OF FRANCISCO
                   GARCIA, Against Defendants Deputy LUKE LIU)
  5
      62.   Plaintiff repeats and re-alleges each and every allegation in paragraphs 1
  6
      through 61 of this Complaint with the same force and effect as if fully set forth
  7
      herein.
  8
      63.   Defendant Deputy LUKE LIU, while working as a deputy sheriff for the
  9
      COUNTY, and acting within the course and scope of her duties, intentionally shot
 10
      DECEDENT. As a result of these actions, DECEDENT suffered severe pain and
 11
      suffering and ultimately died from his injuries and lost earning capacity. Defendant
 12
      Deputy LUKE LIU had no legal justification for using force against DECEDENT
 13
      and the use of force was excessive and unreasonable.
 14
      64.   As a direct and proximate result of the actions of Defendants, Plaintiff A.G.
 15
      suffered the loss of her Father, DECEDENT Francisco Garcia, including damages
 16
      for the loss of DECEDENT’s life-long love, companionship, comfort, care,
 17
      assistance, protection, affection, society, moral support; loss of financial support,
 18
      sustenance and earning capacity; loss of gifts and benefits; funeral and burial
 19
      expenses; loss of the reasonable value of household services; loss of relationship
 20
      with DECEDENT, including loss of society and companionship and all other
 21
      damages allowed under state law.
 22
      65.   Defendants DOES 6-10, inclusive, are directly liable and responsible for the
 23
      acts of Defendant Deputy LUKE LIU because DOES 6-10, inclusive, failed to
 24
      adequately train, discipline, supervise, or in any other way control Defendant
 25
      Deputy LUKE LIU in the exercise of his unlawful use of excessive and lethal force.
 26
      66.   The COUNTY is vicariously liable for the wrongful acts of Defendants
 27
      Deputy LUKE LIU and DOES 6-10 pursuant to section 815.2(a) of the California
 28

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  1   Government Code, which provides that a public entity is liable for the injuries
  2   caused by its employees within the scope of the employment if the employee’s acts
  3   would subject him or her to liability.
  4   67.   The conduct of Defendant Deputy LUKE LIU and DOES 6-10 was
  5   malicious, wanton, oppressive, and accomplished with a conscious disregard for the
  6   rights of Plaintiff A.G. and DECEDENT, entitling Plaintiff A.G., in each case
  7   individually and as a successor-in-interest to DECEDENT, to an award of
  8   exemplary and punitive damages as to Defendants Deputy LUKE LIU and
  9   Defendants DOES 6-10.
 10                          FIFTH CLAIM FOR RELIEF
 11
          For Negligence, Including Negligent Hiring, Retention, Training and
           Supervision (Cal. Govt. Code § 820 and California Common Law)
 12   (Wrongful Death) (By Plaintiffs MINOR AG, individually, and as successor in
 13      interest to DECEDENT FRANCISCO GARCIA, by and Through her
      Guardian Ad Litem, LAREN TURNER; and THE ESTATE OF FRANCISCO
 14                          GARCIA, Against Defendant
 15                  Deputy LUKE LIU and DOES 2 THROUGH 10)
      68.   Plaintiffs repeat and reallege each and every allegation in paragraphs 1
 16
      through 67 of this Complaint with the same force and effect as if fully set forth
 17
      herein.
 18
      69.   The actions and inactions of Defendants, including the actions of Defendant
 19
      LUKE LIU and Does 2 through 10, were negligent and reckless, including but not
 20
      limited to:
 21
            (a) the failure to properly and adequately assess the need to detain, arrest, and
 22
            use force or deadly force against DECEDENT;
 23
            (b) the negligent tactics and handling of the situation with DECEDENT,
 24
            including pre-shooting negligence;
 25
            (c) the negligent detention, arrest, and use of force, including deadly force,
 26
            against DECEDENT;
 27
            (d) the failure to provide prompt medical care to DECEDENT;
 28

                                          18
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  1         (e) the failure to properly train and supervise employees, both professional
  2         and non-professional, including Defendant Deputy LUKE LIU AND DOES
  3         2-10, including, but not limited to the failure to train to follow the COUNTY
  4         OF LOS ANGELES Sheriff Department Manual of Policies and Procedures;
  5         (f) the failure to ensure that adequate numbers of employees with appropriate
  6         education and training were available to meet the needs of and protect the
  7         rights of DECEDENT;
  8         (g) the violation of Defendant COUNTY OF LOS ANGELES Sheriff
  9         Department Manual of Policies and Procedures regarding use of force,
 10         including, but not limited to, Defendant Deputy LUKE LIU’s AND DOES 2-
 11         10’s violation of COUNTY OF LOS ANGELES Sheriff Department Manual
 12         of Policies and Procedures Section 3-1-/220.00 “Use of Firearms Against
 13         Vehicle and/or Occupants of Vehicles” and violation of other portions of the
 14         Manual and tactics;
 15   70.   As a direct and proximate result of Defendants' conduct as alleged above, and
 16   other undiscovered negligent conduct, DECEDENT was caused to suffer severe
 17   pain and suffering and ultimately died and lost earning capacity. Also as a direct
 18   and proximate result of Defendants' conduct as alleged above, Plaintiffs suffered
 19   extreme and severe mental anguish and pain and have been injured in mind and
 20   body. Plaintiffs also have been deprived of the life-long love, companionship,
 21   comfort, support, society, care and sustenance of DECEDENT, and will continue to
 22   be so deprived for the remainder of their natural lives. Plaintiffs also are claiming
 23   funeral and burial expenses and a loss of financial support.
 24   71.   The COUNTY is vicariously liable for the wrongful acts of Defendants
 25   Deputy LUKE LIU And DOES 2-10 pursuant to section 815.2(a) of the California
 26   Government Code, which provides that a public entity is liable for the injuries
 27   caused by its employees within the scope of the employment if the employee's act
 28   would subject him or her to liability.
                                          19
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  1   72.   The conduct of Defendants Deputy LUKE LIU and DOES 2-10 was
  2   malicious, wanton, oppressive, and accomplished with a conscious disregard for the
  3   rights of Plaintiffs and DECEDENT, entitling Plaintiffs, individually and as
  4   successors-in-interest to DECEDENT, to an award of exemplary and punitive
  5   damages as to individual Defendants Deputy LUKE LIU and DOES 2-10.
  6   73.   Plaintiffs A.G. brings her claim in each case, individually as an heir at law of
  7   DECEDENT in wrongful death and as successor-in-interest to the DECEDENT and
  8   to THE ESTATE OF FRANCISCO GARCIA, and in each case, seek both survival
  9   and wrongful death damages for the violation of DECEDENT's rights.
 10

 11                                 PRAYER FOR RELIEF
 12         WHEREFORE, Plaintiffs requests entry of judgment in their favor and
 13         against Defendants as follows:
 14         A. For compensatory damages, for wrongful death including damages for
 15         the loss of DECEDENT’s life-long love, companionship, comfort, care,
 16         assistance, protection, affection, society; moral support; and the
 17         loss of relationship with DECEDENT, including loss of society, familial
 18         relationship and companionship in an amount according to proof at the time
 19         of trial;
 20         B. For compensatory damages, for Survival for the mental, physical and
 21         emotional pain and suffering of DECEDENT in an amount according to
 22         proof at the time of trial;
 23         C. For loss of financial support, sustenance and earning capacity in an
 24         amount according to proof at the time of trial;
 25         D. For loss of gifts and benefits in an amount according to proof at the time
 26         of trial;
 27         E. For loss of the reasonable value of household services in an amount
 28         according to proof at the time of trial;
                                           20
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  1         F. For punitive damages against the individual defendants in an amount to be
  2         proven at trial;
  3         G. For interest;
  4         H. For reasonable costs of this suit and attorneys' fees, including pursuant to
  5         42 U.S.C. § 1988;
  6         I. For all other damages allowed under federal and state law and;
  7         J. For such further other relief as the Court may deem just, proper, and
  8         appropriate.
  9

 10   Respectfully Submitted,
 11   Dated: January 27, 2017                GUIZAR, HENDERSON & CARRAZCO
 12

 13                                                /S/ Humberto Guizar
                                             By
 14                                                HUMBERTO GUIZAR
                                                   ATTORNEY FOR PLAINTIFFS
 15                                                A.G, individually and as successor in
                                                   interest to THE ESTATE OF
 16                                                FRANCISCO GARCIA, by and
                                                   through her Guardian Ad Litem
 17                                                LAREN TURNER, MERARDO
                                                   GARCIA MEDINA, and MARIA
 18                                                LUZ RUIZ
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  1                             DEMAND FOR JURY TRIAL
  2   Plaintiffs hereby demand a trial by jury.
  3
      Dated: January 27, 2016          Respectfully Submitted,
  4

  5                                    By:____/S/__________________________
                                            HUMBERTO GUIZAR
  6                                         Attorney for Plaintiffs,
                                            A.G, individually and as
  7
                                            successor in interest to THE ESTATE OF
                                            FRANCISCO GARCIA, by and through her
                                            Guardian Ad Litem LAREN TURNER,
  8                                         MERARDO GARCIA MEDINA, and
                                            MARIA LUZ RUIZ
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